Case No. 1:08-cv-01743-ZLW Document 1 filed 08/04/08 USDC Colorado pgi1of7

Form 4, Affidavit Accompanying Motion for Permission to Appeal In Forma Pauperis. - AD RDS

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United States District Court for_ C0L0RA D0 District of Cecora bores |
CASTLE MEZWHELD tSTAWLA RSKZ, LOC

AS TRUSTEE for CLILMORTGCAGE, "0 ei = DEP, CLK
AB, Plaintiff 8-CV-01743

v. Case No.: O7¢ Ve2b3d
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var Ryan Ai Hevlo cheer

Phy
C.D., Defendant

Affidavit in Support of Motion Instructions

T swear or affirm under penalty of perjury that, Complete all questions in this application and
because of my poverty, I cannot prepay the docket then sign it. Do not leave any blanks: if the
fees of my appeal or post a bond for them. I believe answer to a question is “0,” “none,” or “not
I am entitled to redress. I swear or affirm under applicable (N/A),” write in that response. If
penalty of perjury under United States laws that my you need more space to answer a question or
answers on this form are true and correct. (28 to explain your answer, attach a separate sheet
US.C. § 1746; 18 U.S.C § 1621.) of paper identified with your name, your case’s
docket number, and the question number.

Date: 08/5 ¥f20 of

Signed: Tyhs Q. Ne do he

My issues on appeal are:

(e) For both you and your spouse estimate the average amount of money received from each of the
following sources during the past 12 months. Adjust any amount that was received weekly,
biweekly, quarterly, semiannually, or annually to show the monthly rate. Use gross amounts,
that is, amounts before any deductions for taxes or otherwise.

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anymore ~ Dust Kee? his name on Phe house m CSE SO merh/ag

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Average monthly amount Amount expected next
durina the nast 1? mnonthe mnanth
Income Source You Spouse You Spouse
Employment $ Nip $ $ $
Self-employment $ Wp $ $ $
Income from reat property $ $ $ is
(such as rental income) NV A ‘ <N\\
x
Interest and dividends $ w/o $ $ \ USTs
Gifts $ wilh $ $ $
Alimony $ Ws $ $ $
Child Support $ w/A $ $ $
Retirement (such as social $ $ $ $
security, pensions, annuities,
insurance) w/a
Disability (such as social $ § $ $
security, insurance payments) it Ip
Unemployment payments $y /p $ $ $
Public-assistance $ $ $ §
(such as welfare) iy / A
Other (specify) $ oy | Lh $ $ $
Total monthly income: $ Vv A $ $ $

2, List your employment history, most recent employer first.
(Gross monthly pay is before taxes or other deductions.)

Employer Address Dates of Gross Monthly Pay
Employment

Marjovit. Frice Evergrety Co, Defeper, Joey re Ape 1209 93520,
Style Pn le 379 ic Strinonte Dy | Feb 2005 % Dec. 200
~ Aighlands Ranch, Ca,

Cheis Parsice Cherry Hy ils Wi Mage Deg, 22°3 to Ape, 200 “LY 960.2 F

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oF bus ibess,

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3. List your spouse’s employment history, most recent employer first.
(Gross monthly pay is before taxes or other deductions.)

Employer Address Dates of Gross Monthly Pay
Employment

jy
VA

l

4, How much cash do you and your spouse have? $ _ 7. 62

Below, state any money you or your spouse have in bank accounts or in any other financial institution,

Financial Institution Type of Account Amount Amount Your

You Have Spouse Has .-}
US Bank Checking Lhe
[#7 Bente Chee King {eb} os

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing
all receipts, expenditures, and balances during the last six months in your institutional accounts. If you
have multiple accounts, perhaps because you have been in multiple institutions, attach one certified
statement of each account.

5. List the assets, and their values, which you own or your Spouse owns. Do not list clothing and
ordinary household furnishing.
Home Value Other real estate Value
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fFORECL@ ED DR- 5 eco. pistere euned dy Tigec offen “
~ farily men bbege
Motor Vehicle t Value Make & Year Model Registration #
ALS. © 1997 Coney | LE SIE TMHy
Motor Vehicle 2 Value Make & Year Model Registration #

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Other Assets Value
pi
6. State every person, business, or organization owing you of your spouse money, and the amount
owed.
Person owing you Amount owed to you Amount owed to your spouse
or your spouse
i
alo Ne
i
7. State the persons who rely on you or your spouse for support.
Name Relationship Age
npn
8. Estimate the average monthly expenses of you and your family. Show separately the amounts

paid by your spouse. Adjust any payments that are made weekly, biweekly, quarterly,
semiannually, or annually to show the monthly are.

Rent or home-morigage payment (include fot rented for mobile home) You Your Spouse
* Are real estate taxes included? Yes / No $ $
* Is property insurance included? Yes / No

Utilities (electricity, heating fuel, water, sewer and telephone) q 250, 60
Home maintenance (repairs & upkeep) —_—

Food /00,0°
Clothing O
Laundry and dry-cleaning o

Medical and dental expenses j)
Transportation (not including motor vehicle payments) %4 0.0%
Recreation, entertainment newspapars magazines, etc. 9 5d

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Insurance (not deducted from wages or included in Mortgage
payments)

« Damearnumer'’s or renter*c rf, A

* Life TRL FO
* Health nia

* Motor Vehicle “43.03
* Other:

Taxes (not deducted from wages or inciuded in Mortgage payments)

(Specify:
)
Installment payments /a
* Motor Vehicle Vv ip
* Credit card (name): " ip
* Department Store (name): JA
* Other:
Alimony, maintenance, and support paid to others iv / A
Regular expenses for operation of business, profession, or farm
{attache detailed statement) My A
Other (specify):
Total Monthly Expenses: | * ¢,//.43
9. Do you expect any major changes to your monthly income or expenses or in your assets or
liabilities during the next 12 months? .
6 Hope. to ge? a jeb within
“t
Yes No the nex? monPh, S¢ at fetched eat
If yes, describe on an attached sheet.
10. Have you paid — or will you be paying — an attorney any money for services in connection with
this case, including the completion of this form?
Yes i“ No  Canrp attend on&

If yes, how much? $
If yes, state the attorney’s name, address, and telephone number.

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1. Have you paid — or will you be paying — anyone other than an attorney (such as a paralegal or a
typist) any money for services in connection with this case, including the completion of this form?

A
hwo awe

If yes, how much? $

If yes, state the person’s name, address, and telephone number.

12. Provide any other information that will help explain why you cannot pay the docket fees for your
appeal.

13. State the address of your legal residence.
FING Stvamente. Dr, H ‘a hlands Ranch, Co. F027

Your daytime phone number: (7.20) _ 374-3023

Your age: Ld Your years of schooling: (2 yrs. t/ a grs, ce flee,

Your social security number: 512-50 926}

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There aren’t any jobs available in my field right now. Hopefully, | will have a job within the next month
in another field.

| have some investment money coming in anytime from now till November. [t wasn’t suppose to be this
long of time. I’m understanding that we are going to be going on a new global banking system and that
has been the delay.
